     Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
Plaintiff,

                 vs.                                   Criminal No. 09-427(JAF)

DAVID OQUENDO-RIVAS
Defendant.


              MOTION TO SUPRRESS DEFENDANT’S STATEMENTS


        COME NOW, the defendant David Oquendo-Rivas, through his undersigned

attorney, who respectfully alleges and prays as follows:

                                    FACTUAL BACKGROUND1

        1.       On October 17, 2009, a shoot-out occurred in the bar known as La

Tombola located in Sabana Seca Ward, Toa Baja, Puerto Rico. During this shoot-out,

several people were killed.

        2.       On October 20, 2009, PRPD Lieutenant Rolando Trinidad- Hernández

was at a meeting where information was received that there were various wounded

individuals who had participated in the shoot-out at La Tombola, located at a house at

Sector 26 of the Sabana Seca Ward in Toa Baja. Said house was located in the immediate

area of the home of an individual known as “Cheo”.

        3.       Lt. Trinidad-Hernández proceeded to provide this information to PRPD

Agent Carlos Rodríguez-Negrón. Together with Lt. Trinidad-Hernández, and PRPD

1
    The factual background recited herein has been distilled from the following documents: (1) Discovery
    reports in Crim. # 09-355 (GAG) of P.R.P.D. Carlos Rodríguez-Negrón, Lt. Rolando Trinidad-
    Hernández, ATF S/A Julio Torres and other discovery documents, De Novo Bail hearing and trial
    transcripts pertaining to Crim. # 09-355 (GAG). Should the Honorable Court deem it necessary to
    review these documents, the defense will immediately provide the same to the Court.



                                                   1
     Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 2 of 12




Agents Luis Vázquez-Torres and Roberto Cruz-Rivera, Agent Rodríguez-Negrón went to

the house indicated, in civilian clothes and in an allegedly marked patrol car. On the way

to the residence, another police vehicle with agents followed Agent Rodríguez-Negrón

and his fellow officers to the residence.

       4.      Upon arriving at the house, Agent Carlos Rodríguez-Negrón alleged that

he saw three individuals, two of which were later identified as Christian Ortiz-Rivera and

the defendant, David Oquendo-Rivas (the third individual ran away and was never

found). According to Agent Rodríguez-Negrón, upon seeing the agent, defendant raised

his shirt and extracted a pistol. Agent Rodríguez-Negrón then allegedly took out his

firearm, identified himself as a police officer, and ordered Defendant to drop his weapon

and to remain where he was.         Instead, according to Agent Rodríguez-Negrón, the

defendant ran off up the stairs which gives access to the second floor of the residence,

followed by Christian Ortiz-Rivera, who Agent Rodríguez-Negrón observed, also had a

weapon in his hand. Agent Rodríguez-Negrón, gun in hand, and Agent Roberto Cruz-

Rivera then ran after defendant and Christian Ortiz-Rivera.

       5.      Upon reaching the residence located on the second floor level Agent

Rodríguez-Negrón allegedly observed Defendant enter a room where he saw Defendant

throw out his pistol though a gap located between the top of the wall and the zinc roof.

Upon throwing away the pistol, the Defendant walked towards Agent Rodríguez-Negrón

who grabbed him, and with the help of Agent Cruz-Rivera threw him on the floor.

During the process of arresting David Oquendo-Rivas Agent Rodríguez-Negrón alleges

that he heard Lt. Trinidad-Hernández indicating from the first floor that he was in

custody of the firearm which David Oquendo-Rivas had thrown away.




                                            2
     Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 3 of 12




       6.      Agent Rodríguez-Negrón then went into the room where he had seen

Christian Ortiz-Rivera enter and saw that he was trying to hide something in a hamper.

Agent Rodríguez-Negrón grabbed him, put him on the floor and arrested him. In the

hamper, Agent Rodríguez-Negrón found two gun magazines and two pistols, one of

which being the same that he had seen Christian Ortiz-Rivera carrying when Christian

Ortiz-Rivera ran up the stairs.

       7.      There is an issue as to whether Agent Rodríguez-Negrón immediately

“detained” or “arrested” Defendant and Christian Ortiz-Rivera upon throwing them to the

floor. According to Agent Rodríguez-Negrón’s report dated October 21, 2009 he first

states that he arrested Defendant (and Christian Ortiz-Rivera) and then subsequently

states that at the moment of their “detention”, he asked them if they had any license to

have or possess firearms to which they both indicated “no”; whereupon, he arrested both

of them. In addition to this inconsistency, there are two reports written by Lt. Rolando

Trinidad and ATF S/A Julio Torres concerning the same incident which do not mention

any “detention”, but rather that they were chased into the residence and both “arrested”.

In order to shed light on this issue, the defense requested any report written by Agent

Roberto Cruz who helped Agent Rodríguez-Negrón throw Defendant to the floor and

subdued him, but was informed by the government that none existed.

       8.      After having arrested Christian Ortiz-Rivera and Defendant, Agent

Rodríguez-Negrón alleged that he verbally gave Christian Ortiz-Rivera and Defendant

their Miranda Rights. Again, according to Agent Rodríguez-Negrón, once Mirandized,

both Christian Ortiz-Rivera and Defendant “freely and voluntarily without asking them”,

told Agent Rodríguez-Negrón, in essence, “that they were clear, that the weapons that




                                            3
    Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 4 of 12




had been seized at the place were ‘theirs’, that they were clear on that, but that they had

nothing to do with the massacre which occurred on Progreso Street in the La Tombola

business at Sabana Seca of Toa Baja”. In addition, Agent Rodríguez-Negrón asked

Defendant if he knew that Christian Ortiz-Rivera had two firearms and one of them had a

serial number obliterated, and the Defendant said “yes”.

       9.      Christian Ortiz-Rivera and Defendant were subsequently taken to the

Puerto Rico Police Station located in Bayamón, Puerto Rico. While at the police station,

Agent Rodríguez-Negrón read the Defendant his Miranda Rights and provided Defendant

with a written copy of said rights. Defendant clearly indicated on the form that he

understood his rights, but did not wish to declare. The defendant and Agent Rodríguez-

Negrón signed the form, and said form is dated October 20, 2009 at 4:50 pm.

       10.     Twenty minutes later, ATF S/A Julio Torres again read the Miranda

Rights to Defendant and provided him with a copy of the same. After reading his rights,

Defendant wrote in the waiver section “I do not understand that, my lawyer speaks”.

(“No entiendo eso mi abogado habla”)

       11.     According to S/A Julio Torres, he then asked Defendant what part of the

Miranda Warnings he did not understand and Defendant replied that he was willing to

speak with him without the presence of counsel, but he did not want to speak about

anything else regarding La Tombola massacre.

       12.     During the interrogation by ATF S/A Julio Torres, Defendant allegedly

admitted possession of the .45 pistol that was recovered outside the residence, and

claimed that he paid $1,300.00 for the pistol and ammunition. In addition, Defendant




                                            4
     Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 5 of 12




allegedly explained that he knew that one of the firearms in possession of Christian Ortiz-

Rivera had the serial number obliterated but that he did not do it.

          13.    As a result of the aforementioned factual scenario Defendant was indicted

in Criminal Case # 09-355 (GAG) for aiding and abetting in the possession of a firearm

with a obliterated serial number in violation of 18 U.S.C. § 922 (k) and 2.             The

government has announced that it will try to admit Defendant’s statements in its case-in-

chief in the instant case. The defense, however, argues that these statements should be

suppressed for the reasons provided below.

                                     LEGAL ARGUMENT

                    STATEMENTS ALLEGEDLY MADE BY DEFENDANT TO
                      P.R.P.D. AGENT CARLOS RODRÍGUEZ-NEGRÓN

          Pursuant to Miranda v. Arizona, 384 U.S. 436 (1966) before questioning suspects

in custody, law enforcement officials must inform them, in some manner, that: (1) they

have a right to remain silent; (2) their statements may be used against them at trial; (3)

they have the right to the presence of an attorney during questioning; and (4) if they

cannot afford an attorney, one will be appointed to them. Id. at 478-79.

          In order to trigger the Miranda rights, a defendant must be in custody and about to

be subjected to government interrogation. Rhode Island v. Innis, 446 U.S. 291, 297

(1980); Ill v. Perkins, 496 U.S. 292, 297 (1990); Thompson v. Keohane, 516 U.S. 99

(1995).

          The test for whether a person is in “custody” and Miranda warnings required is an

objective one: whether a reasonable person in defendant’s position would have

understood himself to be subjected to the restraints comparable to those associated with a




                                               5
     Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 6 of 12




formal arrest. Miranda v. Arizona, 384 U.S. 436, 444 (1966), United States v. Bengienga,

845 F.2d 593 (5Th Cir. 1985); California v. Beheler, 463 U.S. 1121 (1983).

       In Berkemer v. McCarty, 468 U.S. 420 (1984), the Supreme Court identified two

factors as particularly relevant to determining whether investigatory stops involves

restraints generally associated with a formal arrest. The first is whether a reasonable

person in the suspect’s shoes has understood that his detention was not likely to be

temporary and brief. The second is whether a person stopped under the circumstances at

issue would feel that he was completely at the mercy of the police. Id. at 437-48.

       According to the facts as recited above, upon having thrown to the floor of the

residence and subdued and restrained by Agent Cruz and Agent Rodríguez-Negrón, who

had an unholstered gun, any reasonable person, including Defendant, would have felt that

he was not at liberty to get up and leave the premises, and that, in fact, he was completely

at the mercy of the police.

       Independent of whether Agent Rodríguez-Negrón describes his actions as having

“detained” Defendant, the fact is that given the circumstances as stated above, the

Defendant was under custody; and as such, Agent Rodríguez-Negrón should have

provided Defendant with the Miranda warnings prior to asking him if he had a license for

the weapon which he alleges he saw Defendant carrying. Berkemer v. McCarty, 468 U.S.

420, 440 (1984) [“It is settled that the safeguards prescribed by Miranda became

applicable as soon as a suspect’s freedom of action is curtailed to a degree associated

with formal arrest”]; Oregon v. Mathiason, 429 U.S. 492, 495 (1977) [If a suspect who

has been detained pursuant to an investigatory stop is thereafter subject to treatment that

renders him “in custody” for practical purposes, he will be entitled to the full panoply of




                                             6
     Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 7 of 12




protections prescribed by Miranda]; United States v. Perdue, 8 F.3d 1455 (10th Cir.

1993) [If police officers are going to take highly intrusive steps to protect themselves

from danger during a Terry stop, they must similarly provide protection to suspects by

advising them of their Constitutional Rights.] Having not provided the Defendant with

the required Miranda Warnings, the next inquiry is whether the question asked by Agent

Rodríguez-Negrón was an “interrogation”. To do so we must ask whether the question

was “reasonably likely to illicit an incriminating response” Rhode Island v. Irnis, 466

U.S. 291, 301 (1980). Agent Rodríguez-Negrón’s initial question was ostensibly to

confirm or dispel his suspicion that Defendant did not possess a license to carry or

possess a firearm. Given the facts that Agent Rodríguez-Negrón (1) allegedly saw

Defendant extract a firearm from his waist, (2) turn and run-away when told to stop, and

(3) saw when Defendant threw the pistol through the gap between the wall and the zinc

roof, this question, “Do you have a license to possess the firearm?” is the essence of

interrogation, and definitely reasonably likely to illicit an incriminating response.

Consequently, Agent Rodríguez-Negrón should have informed Defendant of his Miranda

Rights after neutralizing him but before commencing with the interrogation. The failure

to do so constitutes a violation of Miranda. United States v. Perdue, 8 F.3d 1455, 1465

(10th Cir. 1993).

       Having not furnished the Defendant with his Miranda Rights, the statement

allegedly made by Defendant in response to the agent’s question was illegally obtained;

and therefore, his arrest was an exploitation of the illegality in violation of his Fourth

Amendment Right. Consequently, any subsequent statements made by the Defendant,

even after allegedly being Mirandized , are suppressible as fruit of the poisonous tree.




                                            7
     Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 8 of 12




Brown v. Illinois, 422 U.S. 590 (1975); Dunaway v. New York, 442 U.S. 200 (1979). As

stated by the Supreme Court in Taylor v. Alabama, 457 U.S. 687 (1982), it is “firmly

established that the fact that (a) confession may be voluntary for purposes of the Fifth

Amendment … is not by itself sufficient to purge the taint of an illegal arrest.” It appears

that Defendant’s alleged statement concerning the firearm seized and his comments about

La Tombola was separated from his illegal arrest by a short period of time, if not minutes,

and therefore in short temporal proximity. There was also no intervening event of

significance whatsoever between the time of the illegal arrest and the alleged statements.

       For Agent Rodríguez-Negrón to say that both defendant and Christian Ortiz-

Rivera, out of the blue, spontaneously and repeatedly told him that the guns seized

belonged to them, but that they did not have anything to do with the massacre that took

place on October 17, 2009, quite frankly stretches credibility. On October 20, 2009 the

PRPD agents went to the residence where Defendant was found for one reason and one

reason only: to seek and find wounded individuals who had participated in the shoot-out

at La Tombola. The fact that two police vehicles filled with agents went together to that

location corroborates that fact.

       There is no evidence or any indication in any of the reports or transcripts related

to this case [Crim. # 09-355 (GAG)] that the Defendant (and Christian Ortiz-Rivera for

that matter) had absolutely any idea that the police officers were coming to the residence,

and much less that the police were going there with the specific goal of investigating a tip

that in that residence they would find wounded participants of La Tombola shoot-out.

Given this scenario, why would Defendant even mention that the firearm were “theirs”

but not related to La Tombola? The only logical explanation is that the Defendant’s (and




                                             8
    Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 9 of 12




Christian Ortiz-Rivera’s) alleged statement was in response to questions made by Agent

Rodríguez-Negrón concerning the events of La Tombola. Based on Brown, Dunaway,

and Taylor, infra these statements should be suppressed.

       An additional reason for suppression of Defendant’s statements once he allegedly

was verbally Mirandized at the residence is the fact that at no time did Agent Rodríguez-

Negrón inquire as to whether Defendant understood his verbalized rights in order to

voluntarily and intelligently waive the same.

       In Miranda v. Arizona, 384 U.S. 436 (1966) the Supreme Court held that “the

defendant may waive effectuation of his rights conveyed in the warnings provided the

waiver is made voluntarily, knowingly and intelligently”. Id. at 444. See also Moran v.

Burbine, 475 U.S. 412, 421 (1986). A review of Agent Rodríguez-Negrón’s report dated

October 21, 2009, his testimony at the De Novo Bail hearing, dated November 12, 2009,

and his testimony at the trial dated January 24, 2011 in Crim. # 09-355 (GAG) do not

reflect in any fashion that after allegedly giving the Miranda warnings to Defendant he

inquired of Defendant if he understood his rights. As such, any statement made by

Defendant while at the residence should be suppressed.

                   STATEMENTS ALLEGEDLY MADE BY DEFENDANT
                           TO ATF S/A JULIO TORRES

       In addition to the aforementioned arguments for suppression of statements made

by Defendant to Agent Carlos Rodríguez-Negrón, there are further arguments to sustain a

suppression of the specific statements made to ATF S/A Julio Torres.

       According to Agent Carlos Rodríguez-Negrón, Defendant was transferred from

the residence to the Bayamón Police station. While at the Bayamón Police station,

Defendant was provided with a written form reflecting his Miranda Rights. Immediately



                                            9
    Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 10 of 12




after said rights there is a question which asks “Have you understood your rights?”. The

Defendant put a check mark indicating that he did understand his rights. Underneath that

inquiry is the question “Do you wish to declare” to which Defendant used a checkmark to

clearly reply “NO”.     The form was then signed by Defendant and Agent Carlos

Rodríguez-Negrón and dated October 20, 2009, hour: 4:50 (pm).

       Twenty minutes later at 5:10 pm, ATF S/A Julio Torres provided the Defendant,

who was still at the Bayamón Police station, with another written Miranda Rights form.

After reviewing the same, Defendant wrote “I do not understand that my lawyer speaks”

[Emphasis Ours]. Defendant’s request for an attorney was unambiguous, especially

when combined with his written affirmation that he did not waive his Miranda Rights

only twenty minutes earlier. Davis v. United States, 512 U.S. 452 (1994). Examples of

ambiguous request for attorney are: United States v. Posada-Rios, 158 F.3d 832, 867 (5th

Cir. 1998): holding a suspect’s statement that she “might have to get a lawyer then, huh”

was not a clear request; United States v. Cherry, 733 F.2d 1124, 1130 (5th Cir. 1984):

“why should I not get an attorney” was also not a clear request; Davis v. United States,

512 U.S. 452, 462: “maybe I should talk to a lawyer” was not a clear invocation, as was

not the defendant’s statements in Barnes v. Johnson, 160 F.3d 218, 225 (5th Cir. 1998):

“should I get an attorney”, “how can I get and attorney” and “how long it would take to

have an attorney appointed”. All of these cited cases are in stark contrast to the instant

case where Defendant clearly wrote “my lawyer speaks”, obviously indicating that his

lawyer would speak for him. Once Defendant invoked his right to an attorney, all further

interrogations should have ceased. Davis v. U.S., 512 U.S. 452 (1994). Edwards v.

Arizona, 451 U.S. 477, 484-85 (1981).       (holding that a criminal Defendant, “having




                                           10
    Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 11 of 12




expressed his desire to deal with the police only through counsel, is not subject to further

interrogation by the authorities until counsel has been made available to him…”)

       Finally, another potent and cogent reason to suppress any statements made by

Defendant to ATF S/A Julio Torres is because ATF S/A Julio Torres commenced his

interview of Defendant in violation of United States v. Andrades, 135 F.3d 104 (1st Cir.

1998) and Michigan v. Mosley, 423 U.S. 96 (1975). In United States v. Andrades, the

First Circuit Court of Appeals held that a federal agent did not act improperly by

resuming questioning of a suspect in custody after the suspect refused to speak with other

law enforcement officers. In that case, at the outset of the second interview, the agent

reminded the suspect of the earlier Miranda warnings and the defendant confirmed that

he remembered the same. In addition, and more importantly, “a reasonable interval (of

four hours) separated the two periods of questioning”. Id. at 107.

       In Michigan v. Mosley, 423 U.S. 96 (1975), the Supreme Court held that the

admissibility of statements obtained after the person in custody has decided to remain

silent depends on whether his “right to cut off questioning was scrupulously honored”.

Id. at 104. In the Mosley case a significant period of time – two hours – had elapsed

before the start of the second interrogation.

       In contrast to above-cited cases, Defendant Oquendo-Rivas was provided with

written Miranda Rights by PRPD Carlos Rodríguez-Negrón, which includes the right to

remain silent and right to have counsel present before answering any questions. He

refused to waive these rights as clearly indicated on said form. Notwithstanding the

Defendant’s exercise of his right to remain silent, only twenty minutes transpired before

ATF S/A Julio Torres commenced his attempt to interview the Defendant, this in




                                                11
    Case 3:09-cr-00427-JAG Document 562 Filed 10/12/12 Page 12 of 12




violation of Andrades and Mosely, infra. That being the case, any statements made to

ATF S/A Julio Torres by the Defendant should be suppressed.

        Wherefore, for the reasons stated above, Defendant’s statements which were

made to PRDP agent Carlos Rodríguez-Negrón and ATF S/A Julio Torres should be

suppressed and precluded from being used at the trial of the instant case.

        Respectfully submitted.

        In San Juan, Puerto Rico this 12th day of October, 2012.

        Certificate of Service: I hereby certify that on this date, October 12th, 2012, the

instant motion has been filed with the Clerk of the Court through the CM/ECF system

which will send copy to AUSA Julia Díaz-Rex and AUSA Ilianys Rivera-Miranda

and notification of filing to other all parties.

                                                        /s/ José R Aguayo Caussade
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                                                   12
